Case 2:02-cV-02958-STA-egb Document 113 Filed 08/01/05 Page 1 of 3 Page|D 131

IN THE UNITED sTATEs DISTRICT CoURT F“£D B`“ ~(YZ- D~C'

FoR THE wEsTERN DISTRICT oF TENNESSE _
wEsTERN DlesIoN 1255 AUG 'l PH b- 08
watts §§L§Q%%Um
.`F;l`jtt ei\;
THOMAS P. LEwIs, CLE§HLFS l H;:!§PFES
Plaintiff,
V' NO. 02-2953-13

UNITED STATES,
Dcfendant/Third-Party Plaintiff,

V.

RONALD L. EDMONDS,

Third-Party Defendant.

 

ORDER OF REFERENCE

 

Before the court is Third-Party Defendant Ronald Edmonds’ Objections to United States’
Exhibit List filed on June 30, 2005.

These objections are referred to the United States Magistrate Judge for determination
Any objections to the magistrate judge’s order shall be made within ten (10) days after service
of the order, setting forth particularly those portions of the order objected to and the reasons for
the objectionsl Failure to timely assign as error a defect in the magistrate judge’s order will

constitute a waiver of that objection. w Rule 72(a), Federal Rules of Civil Procedure.
tdc

IT IS SO ORDERED this / da f August, 2005.

§

§ J. DANIEL BREEN \
E`.D STATES DISTRICT JUDGE

in compliance

Th'ss document entered on the dockogs:ie w
with Ru!a 58 and/or 79{a) FRCP on §2§

 

 

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UND11E sTATEs D1s11C COURT - WESTERN1CSR1T oF TNNESSEE

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This notice confirms a copy ofthe document docketed as number 113 in
case 2:02-CV-02958 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

